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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SECURITIES & EXCHANGE COMMISSION,

                    Plaintiff,

        v.                                          No. 20-cv-10832 (AT)

 RIPPLE LABS INC.,
 BRADLEY GARLINGHOUSE,
 and CHRISTIAN A. LARSEN,
               Defendants.


   MEMORANDUM OF LAW IN SUPPORT OF BRADLEY GARLINGHOUSE AND
    CHRISTIAN A. LARSEN’S MOTION FOR THE ISSUANCE OF LETTERS OF
          REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE

       Defendants Bradley Garlinghouse and Christian A. Larsen (the “Individual Defendants”),

hereby submit this Memorandum of Law in support of their motion for this Court to issue, under

its seal and signature, the attached Letters of Request pursuant to 28 U.S.C. § 1781(b)(2) and the

Hague Convention of 18 March 1970 on Taking of Evidence Abroad in Civil or Commercial

Matters (the “Hague Convention”) on behalf of the Individual Defendants to obtain documents

from the following third parties:

                                    iFinex Inc. d/b/a Bitfinex
                            Suite 13/F, 1308 Bank of America Tower
                                   12 Harcourt Road, Central
                                        Hong Kong, China

                                Noah Trade Ltd. d/b/a Bitforex
                           Room 1502-U4 Easey Commercial Building
                                   253-261 Hennessy Road
                                         Wan Chai
                                     Hong Kong, China

                                 BGH One Ltd. d/b/a Bithumb
                             15~16F, 124, Teheran-ro, Gangnam-gu
                                            Seoul
                                      Republic of Korea
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                               Bitlish Ltd.
                         14056, 43 Bedford Street
                           London WC2E 9HA
                            United Kingdom

               GBM Foundation Company, Ltd. d/b/a BitMart
                    c/o Stuarts Corporate Services Ltd
            th
           4 Flr Cayman Financial Center 36A Dr Roy’s Drive
                 George Town, Grand Cayman, KY1-1104
                             Cayman Islands

     BMXDM Technology PTE. Ltd. d/b/a AscendEX (formerly Bitmax)
                    10 Marina Boulevard #39
                   Marina Bay Financial Centre
                       Singapore, 018983

                       Bitrue Singapore PTE. Ltd.
                   73 Upper Paya Lebar Road, #06-01C
                             Centro Bianco
                           Singapore, 534818

                              Bitstamp Ltd.
                           5 New Street Square
                           London EC4A 3TW
                             United Kingdom

                        Coinbene Limited Vanuatu
                              The Adelphi
                            1 Coleman Street,
                           Singapore, 179803

                             Coinone Co., Ltd.
                       4th floor, 69 Hangang-daero,
                               Yongsan-gu,
                                   Seoul
                               South Korea

            Hit Tech Solutions Development Ltd. d/b/a HitBTC
            Suite 15, Oliaji Trade Centre, Francis Rachel Street
                                  Victoria
                                   Mahé
                                 Seychelles




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                                     Huobi Global Limited
                                Room 1404-05, Nan Fung Tower
                                  88 Connaught Road Central
                                      Hong Kong, China

                                         Korbit, Inc.
                              5F 376 Gangnam-daero Gangnam-gu
                                        Seoul, 06232
                                         South Korea

                            Aux Cayes FinTech Co. Ltd. d/b/a OKEx
                                    30, Kenilworth, Flat 4
                                 Sir Augustus Bartolo Street
                                          Ta’xbiex
                                           Malta

                                    Upbit Singapore Pte. Ltd.
                                 1 Harbourfront Avenue #16-02
                                      Keppel Bay Tower
                                      Singapore, S098632

                               ZB Network Technology PTE. Ltd.
                                 1 North Bridge Road, #06-18
                                      High Street Centre
                                      Singapore, 179094

       The Letters of Request to the above-listed entities solicit the assistance of the Central

Authorities of the Cayman Islands, the Hong Kong Special Administrative Region of China, the

Republic of Korea, the United Kingdom of Great Britain and Northern Ireland, the Republic of

Singapore, the Republic of Seychelles, and the Republic of Malta, respectively, to obtain certain

documents relevant to the case and unobtainable through other means from the entities for use in

the case. The Individual Defendants respectfully request that the Court issue the attached Letters

of Request.

       The documents attached to this Memorandum include copies of the proposed Letters of

Request and certified translations of the Letters of Request where applicable (Exhibits 2 through

17).




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       In support of this Motion, the Individual Defendants state as follows:

  I.   THE COURT HAS AUTHORITY TO ISSUE LETTERS OF REQUEST UNDER
       THE HAGUE CONVENTION

       The Hague Convention provides that “[i]n civil or commercial matters a judicial authority of

a Contracting State may, in accordance with the provision of the law of that State, request the

competent authority of another Contracting State, by means of a Letter of Request, to obtain

evidence, or to perform some other judicial act.” Hague Convention on the Taking of Evidence

Abroad in Civil or Commercial Matters, Art. 1, opened for signature, Mar. 18, 1970, 23 U.S.T. 2555

(hereinafter “Hague Convention”). The United States and each of the States to which requests would

be sent are parties to the Hague Convention:

           •   The United States ratified the Convention on August 8, 1972;

           •   The United Kingdom of Great Britain and Northern Ireland ratified the Convention

               on July 16, 1976;

           •   The Hague Convention applies to the Cayman Islands pursuant to the July 16, 1976

               ratification of the United Kingdom and the subsequent September 16, 1980 extension

               of application;

           •   The Hague Convention applies to the Hong Kong Special Administrative Region of

               China pursuant to the July 15, 1976 ratification of the United Kingdom and pursuant

               exchange of notes between the governments of the United Kingdom and of the

               People’s Republic of China dated June 11, 1997 and June 10, 1997, respectively;

           •   The Republic of Singapore ratified the Convention on October 27, 1978;

           •   The Republic of Seychelles ratified the Convention on January 7, 2004;

           •   The Republic of Korea ratified the Convention on December 14, 2009; and

           •   The Republic of Malta ratified the Convention on February 24, 2011.




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See Hague Conf. on Private Int’l Law, Status Table: Convention of 18 March 1970 on the Taking of

Evidence Abroad in Civil or Commercial Matters, available at

https://www.hcch.net/en/instruments/conventions/status-table/?cid=82.

        The Hague Convention and federal law authorize the Court to issue the Letters of Request.

See 28 U.S.C. § 1781(b)(2) (permitting “the transmittal of a letter rogatory or request directly from a

tribunal in the United States to the foreign or international tribunal, officer, or agency to whom it is

addressed and its return in the same manner”); Société Nationale Industrielle Aérospatiale v. U.S.

Dist. Court, 482 U.S. 522, 535 (1987) (stating that a judicial authority in one contracting state may

forward a letter of request to the competent authority in another contracting state for the purpose of

obtaining evidence). And under the Hague Convention, evidence can be compelled pursuant to a

Letter of Request transmitted directly from a court in the United States to the designated central

authorities of the receiving States. The designated central authorities for the receiving States with

respect to the proposed Letters of Request are as follows:

 United Kingdom of Great               The Senior Master of the Royal Courts of Justice
 Britain and Northern Ireland          For the attention of the Foreign Process Section
                                       Room E16
                                       Royal Courts of Justice
                                       Strand
                                       London WC2A 2LL
                                       United Kingdom
                                       https://www.hcch.net/en/states/authorities/details3/?aid=278
 The Cayman Islands                    The Clerk of the Courts
                                       Grand Cayman
                                       Cayman Islands
                                       https://www.hcch.net/en/states/authorities/details3/?aid=681
 Hong Kong Special                     Chief Secretary for Administration
 Administrative Region                 Hong Kong Special Administrative Region Government
                                       Room 321, 3/F, East Wing
                                       Central Government Offices
                                       2 Tim Mei Avenue
                                       Admiralty
                                       Hong Kong, China
                                       https://www.hcch.net/en/states/authorities/details3/?aid=393




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 The Republic of Singapore          Supreme Court of Singapore
                                    1 Supreme Court Lane
                                    Singapore 178879
                                    https://www.hcch.net/en/states/authorities/details3/?aid=532
 The Republic of Seychelles         Ministry of Foreign Affairs and International Co-operation
                                    of the Republic of Seychelles
                                    Maison Queau de Quinssy
                                    Mont Fleuri
                                    Victoria
                                    Mahé
                                    Seychelles
                                    https://www.hcch.net/en/states/authorities/details3/?aid=703
 Republic of Korea                  The National Court Administration
                                    Attn.: Director of International Affairs
                                    Seocho-daero 219
                                    Seocho-gu
                                    SEOUL 06590
                                    Republic of Korea
                                    https://www.hcch.net/en/states/authorities/details3/?aid=262
 Republic of Malta                  Office of the State Advocate
                                    16, Casa Scaglia,
                                    Triq Mikiel Anton Vassalli
                                    Valletta, VLT 1311
                                    Malta
                                    https://www.hcch.net/en/states/authorities/details3/?aid=895


 II.   THE VARIOUS ENTITIES ARE IN POSSESSION OF RELEVANT
       DOCUMENTS IN VARIOUS FOREIGN COUNTRIES

       The Individual Defendants seek foreign discovery on the basis of their good faith belief

that the listed entities possess unique documents and information concerning this case, and

specifically, concerning the process by which transactions in XRP allegedly conducted by the

Individual Defendants on foreign digital asset trading platforms were conducted.

       The Securities and Exchange Commission’s (“SEC’s”) amended complaint (ECF No. 46)

(the “AC”) alleges that the Individual Defendants collectively sold more than two billion units of

XRP to “public investors in the market.” AC ¶¶ 86–87. The AC specifies that the offers and

sales by the Individual Defendants were made on “worldwide” digital asset trading platforms and




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the XRP was sold to investors “all over the world.” AC ¶¶ 174, 183–184. The SEC seeks

disgorgement based on the sales made by the Individual Defendants, including those sales made

on digital asset trading platforms located outside of the United States. AC p. 79.

        The Supreme Court has held that Section 5 of the Securities Act of 1933, which the SEC

alleges the Individual Defendants violated, applies only to domestic sales and offers of securities.

Morrison v. Nat’l Austl. Bank Ltd., 561 U.S. 247, 268–69 (2010) (“The same focus on domestic

transactions is evident in the Securities Act of 1933 . . . . That legislation makes it unlawful to

sell a security . . . unless a registration statement is in effect. 15 U.S.C. § 77e(a)(1).”); SEC v.

Bio Def. Corp., No. 12-11669-DPW, 2019 WL 7578525, at *11-13 (D. Mass. Sept. 6, 2019)

(applying Morrison to Section 5 claim, along with other Securities Act and Securities Exchange

Act claims); see also Schentag v. Nebgen, No. 1:17-CV-8734-GHW, 2018 WL 3104092, at *5,

10–13 (S.D.N.Y. June 21, 2018) (dismissing Section 5 claim, along with other Securities Act and

Securities Exchange Act claims, under Morrison).

        Liability under Section 5(a) of the Securities Act attaches only to domestic “sales” of

securities. In turn, the Second Circuit has held that sales are domestic only if: (1) they occurred

on “domestic exchanges,” or (2) irrevocable liability was incurred or passage of title transferred

in the United States. Absolute Activist Value Master Fund Ltd. V. Ficeto, 677 F.3d 60, 66–69

(2d Cir. 2012) (defining when a “sale” or “purchase” is domestic).

        As the SEC knows, the Individual Defendants’ sales of XRP were overwhelmingly made

on digital asset trading platforms outside of the United States. Motion of Law in Support of

Defendant Garlighouse’s Motion to Dismiss the Amended Complaint (ECF No. 111) (the

“Garlinghouse MTD”) p. 21; Motion of Law in Support of Defendant Larsen’s Motion to

Dismiss the Amended Complaint (ECF No. 107) (the “Larsen MTD”) p. 23. In the case of




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transactions conducted on such foreign trading platforms, both the offers of XRP and the sales of

XRP occurred on the books and records of the respective platforms, and therefore geographically

outside the United States. The SEC’s failure to allege domestic offers and sales should be fatal

to its claims for the reasons set out in the Individual Defendants’ respective Motions to Dismiss.

See Garlinghouse MTD p. 20–30; Larsen MTD p. 22–30. If this case were to proceed past that

stage, however, the discovery that the Individual Defendants seek will be relevant to

demonstrating that the offers and sales that the SEC challenges did not occur in this country and

are not subject to the law that the SEC has invoked in this case. The entities identified in this

Motion are the digital asset trading platforms located outside the United States which the

Individual Defendants used to transact in XRP. The evidence to be obtained from these digital

asset trading platforms is probative of the issue of whether “irrevocable liability” was incurred

outside of the United States with respect to these transactions.

III.   THE LETTERS OF REQUET ARE NECESSARY TO OBTAIN THE
       DOCUMENTS AND INFORMATION FROM THE VARIOUS ENTITIES AND
       CONFORMS TO THE REQUIRED PROCEDUREAL SAFEGUARDS

       There is good cause for the Court to issue the Letters of Request. The information sought

in the document requests is narrowly tailored to obtain relevant information related to the case.

The requested information, or its substantial equivalent, could not be obtained without undue

hardship by alternate means because the documents are in countries aside from the United States,

which are beyond the Court’s subpoena powers. See, e.g., Order granting Motion for Issuance of

Letters Rogatory, Securities and Exchange Commission v. Wyly, No. 1:10-cv-05760-SAS

(S.D.N.Y.) (granting a motion to the District Court for the Southern District of New York to

submit a Letter of Request for International Assistance to the Chief Justice of the Grand Court of

the Cayman Islands) (ECF No. 657); Application for Letters Rogatory, Securities and Exchange

Commission v. Straub, No. 1:11-cv-09645-RJS (S.D.N.Y.) (submitting a Letter of Request for


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International Judicial Assistance to the Greek Department of International Judicial Cooperation)

(ECF No. 90).

       In accordance with Article 23 of the Hague Convention, the Letters of Request are

narrowly tailored and, consistent with the various States’ accession to the Hague Convention, do

not require the entities to indicate which documents are relevant to the case nor does it require

the entities to produce documents other than those requested. See United Kingdom of Great

Britain and Northern Ireland Declaration Reservations, available at

https://www.hcch.net/en/instruments/conventions/status-

table/notifications/?csid=564&disp=resdn (last visited May 31, 2021); the Cayman Islands

Declaration Reservations, available at https://www.hcch.net/en/instruments/conventions/status-

table/notifications/?csid=564&disp=resdn (last visited May 31, 2021); People’s Republic of

China and Hong Kong Special Administrative Region Declaration Reservations, available at

https://www.hcch.net/en/instruments/conventions/status-

table/notifications/?csid=493&disp=resdn (last visited May 31, 2021); the Republic of Singapore

Declaration Reservations, available at https://www.hcch.net/en/instruments/conventions/status-

table/notifications/?csid=569&disp=resdn (last visited May 31, 2021); the Republic of

Seychelles Declaration Reservations, available at

https://www.hcch.net/en/instruments/conventions/status-

table/notifications/?csid=782&disp=resdn (last visited May 31, 2021); the Republic of Korea

Declaration Reservations, available at https://www.hcch.net/en/instruments/conventions/status-

table/notifications/?csid=1057&disp=resdn (last visited May 31, 2021); and Republic of Malta

Declaration Reservations, available at https://www.hcch.net/en/instruments/conventions/status-

table/notifications/?csid=1100&disp=resdn (last visited May 31, 2021).




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       In addition, the Letters of Request include the identities of the parties, the nature of the

proceedings, the discovery sought, any special procedures, the identity of the party that will bear

any costs, and other information as recommended by the Hague Convention. See Hague

Convention, Model for Letters of Request recommended for use in applying the Hague

Convention of 18 March 1970 on the Taking of Evidence Abroad in Civil or Commercial

Matters, available at https://www.hcch.net/en/publications-and-

studies/details4/?pid=3309&dtid=2 (last visited May 31, 2021).

       Moreover, while such a showing would not be necessary to justify issuing a Hague

Convention request, there is also no alternative means by which the Individual Defendants could

obtain this evidence. Since the opening of discovery, the Individual Defendants have attempted

to obtain the discovery sought here by informal voluntary requests. Those efforts have not been

successful, and the Individual Defendants lack access to the mechanisms available to the SEC to

compel discovery from abroad via official requests to foreign securities regulators under

memoranda of understanding. See Order re Letter Motion for Local Rule 37.2 Conference

(explaining the broader discovery tools available to the SEC in this case in the form of

Multilateral Memorandum of Understanding) (ECF No. 197), p. 2–3. Finally, to the extent that

they contain confidential business information, documents produced pursuant to the Letters of

Request would be subject to the Protective Order entered in this case, attached to the Letters of

Request, thereby ensuring that the interests of the entities are adequately protected.




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IV.    CONCLUSION

       For the foregoing reasons, the Individual Defendants respectfully request that the Court

execute the proposed Letters of request attached hereto as Exhibits 2 through 17 for transmission

to the appropriate authority for each of the above-listed entities.




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Dated: June 2, 2021

                             Respectfully submitted,

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